           Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 1 of 22



 1
     Amanda F. Benedict, CA Bar No. 200291
     LAW OFFICE OF AMANDA F. BENEDICT
 2   7710 Hazard Center Dr., Ste E-104
 3   San Diego, CA 92108
     Telephone: (760) 822-1911
 4   Facsimile: (760) 452-7560
 5   amanda@amandabenedict.com

 6 Counsel for Plaintiff and all others similarly situated

 7

 8                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10

11    MICHAEL TRUJILLO, individually               Case No.
      and on behalf of all others similarly
12
      situated,                                   CLASS ACTION COMPLAINT
13
                   Plaintiff,                     DEMAND FOR JURY TRIAL
14

15    v.
16
      JOLLY FARMS, INC., a California
17    non-profit corporation,
18
                   Defendant.
19

20

21                              CLASS ACTION COMPLAINT
22         Plaintiff Michael Trujillo (“Trujillo” or “Plaintiff”) brings this Class Action
23 Complaint and Demand for Jury Trial against Defendant Jolly Farms, Inc. (“Jolly

24 Farms” or “Defendant”) to stop Jolly Farms from violating the Telephone

25 Consumer Protection Act by sending unsolicited, autodialed text messages to

26 consumers, including text messages to consumers who asked that the messages

27 stop and who have registered their cell phone numbers on the National Do Not Call

28
                                  CLASS ACTION COMPLAINT
                                            -1-
          Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 2 of 22



 1 Registry (“DNC”) and to otherwise obtain injunctive and monetary relief for all

 2 persons injured by Jolly Farms’ conduct. Plaintiff, for his Complaint, alleges as

 3 follows upon personal knowledge as to himself and his own acts and experiences,

 4 and, as to all other matters, upon information and belief, including investigation

 5 conducted by his attorneys.

 6                                  INTRODUCTION
 7        1.     When Congress enacted the TCPA in 1991, it found that telemarketers
 8 called more than 18 million Americans every day. 105 Stat. 2394 at § 2(3). By

 9 2003, due to more powerful autodialing technology, telemarketers were calling 104

10 million Americans every day. In re Rules and Regulations Implementing the TCPA

11 of 1991, 18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).

12        2.     The problems Congress identified when it enacted the TCPA have
13 only grown exponentially in recent years.

14        3.     Industry data shows that the number of robocalls made each month
15 increased from 831 million in September 2015 to 4.7 billion in December 2018—a

16 466% increase in three years.

17        4.     According to online robocall tracking service “YouMail,” 5.2 billion
18 robocalls were placed in March 2019 alone, at a rate of 168.8 million per

19 day. www.robocallindex.com (last visited April 9, 2019). YouMail estimates that

20 in 2019 robocall totals will exceed 60 billion. See id.

21        5.     The FCC also has received an increasing number of complaints about
22 unwanted calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and

23 232,000 complaints in 2018. FCC, Consumer Complaint Data

24 Center, www.fcc.gov/consumer-help-center-data.

25                                   JOLLY FARMS
26        6.     Jolly Farms runs a marijuana delivery service throughout parts of
27 California.

28
                                 CLASS ACTION COMPLAINT
                                           -2-
          Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 3 of 22



 1        7.     Part of Jolly Farms’s marketing plan includes sending text messages
 2 en masse to consumers regarding promotions and other incentives that are meant to

 3 encourage consumers to place orders from Jolly Farms.

 4        8.     Such text messages are sent using an autodialer without the necessary
 5 express written consent.

 6        9.     Plaintiff received a number of unsolicited, autodialed text messages to
 7 his cell phone, despite having his phone number registered on the DNC and opting

 8 out from receiving more autodialed text messages.

 9        10.    In response to this text message, Plaintiff files this class action lawsuit
10 seeking injunctive relief, requiring Jolly Farms to cease sending unsolicited,

11 autodialed text messages to consumers’ cellular telephone numbers, including text

12 messages to phone numbers registered on the DNC, as well as an award of

13 statutory damages to the members of the Class.

14                                         PARTIES
15        11.    Plaintiff Trujillo is an Apple Valley, San Bernardino, California
16 resident.

17        12.    Defendant Jolly Farms is a California non-profit corporation with its
18 head office located in Maricopa, Kern County, California. Jolly Farms does

19 business throughout parts of California.

20                            JURISDICTION AND VENUE
21        13.    This Court has federal question subject matter jurisdiction over this
22 action under 28 U.S.C. § 1331, as the action arises under the Telephone Consumer

23 Protection Act, 47 U.S.C. §227 (“TCPA”).

24        14.    This Court has personal jurisdiction over Defendant and venue is
25 proper in this District under 28 U.S.C. § 1391(b) because Defendant has its

26 headquarters in this District, and because the wrongful conduct giving rise to this

27 case was directed from this District.

28
                                CLASS ACTION COMPLAINT
                                          -3-
          Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 4 of 22



 1                            COMMON ALLEGATIONS
 2        Jolly Farms Sends Unsolicited Text Messages Using an Autodialer
 3        15.   In sending the unsolicited text messages at issue, Defendant, or a third
 4 party acting on its behalf, used an automatic telephone dialing system; hardware

 5 and/or software with the capacity to store or produce cellular telephone numbers to

 6 be called, using a random or sequential number generator, and/or to call numbers

 7 from pre-loaded lists. This is evident from the circumstances surrounding the text

 8 messages, including the ability to trigger an automated response by replying

 9 “STOP”, the text messages’ commercial and generic content, that they were sent

10 without consent, and that many of the texts were sent using a shortcode, which is

11 consistent with the use of an automatic telephone dialing system to send text

12 messages.

13        16.   When Plaintiff replied “Stop” to shortcode 27367, he received an
14 immediate confirmation that he had opted-out:

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                               CLASS ACTION COMPLAINT
                                         -4-
            Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 5 of 22



 1         17.      Consumers have complained online about Marijuana-related text
 2 messages they received from shortcode 27367:

 3                MUNCHIE MON at Urbn Leaf: Buy any 2 edibles/drinkables Get 1
 4                  50% off. Valid for ALL CA & TJ residents medical patients! C10-
 5                  0000246-LIC Reply CANCEL to optout”1
 6                “I’ve been receiving texts from this code and it’s been pestering hell
 7                  out of me before I tapped on a link in the most recent message to opt
 8                  out. There isn’t much to describe of this sender but it boils down to it
 9                  probably being some pharmaceutical promo…”2
10                “Sending help keyword to this number responds with: Reply STOP to
11                  cancel. Msg&data rates may apply.”3
12                       PLAINTIFF’S FACTUAL ALLEGATIONS
13         18.      On May 13, 2005, Plaintiff Trujillo registered his cell phone number
14 on the DNC in order to protect his phone from unwanted telemarketing spam.

15         19.      Plaintiff uses his cell phone for personal use only. The cell phone
16 number is not associated with a business.

17         20.      On February 25, 2018 at 10:59 AM, more than 30 days after he
18 registered his cell phone number on the DNC, Plaintiff received an autodialed text

19 message from Defendant on his cell phone from the shortcode 27367.

20

21

22

23

24

25
     1
26   https://usshortcodedirectory.com/directory/short-code-27367/
     2
     Id.
27 3 https://shortcodes.org/uncategorized/27367-short-code/

28
                                   CLASS ACTION COMPLAINT
                                             -5-
          Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 6 of 22



 1        21.   Plaintiff replied back on that same day, at 11:13 AM with “Stop.” He
 2 then received an immediate response, confirming that he would not receive any

 3 more text messages:

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15        22.   Despite opting out and confirmation that he would not receive any

16 more text messages, Plaintiff received another unsolicited, autodialed text message

17 to his cell phone from Defendant on August 30, 2018 at 3:44 PM, again from

18 shortcode 27367.

19

20

21

22

23

24

25

26

27

28
                               CLASS ACTION COMPLAINT
                                         -6-
           Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 7 of 22



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16
           23.   Plaintiff then received 2 more unsolicited autodialed text messages to
17
     his cell phone on September 5, 2018 from Defendant at 2:16 PM. This text
18
     message came in as 2 separate text messages:
19

20

21

22

23

24

25

26

27

28
                               CLASS ACTION COMPLAINT
                                         -7-
          Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 8 of 22



 1        24.   Plaintiff also received the following additional unsolicited, autodialed
 2 text messages to his cell phone from Defendant using shortcode 27367:

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                               CLASS ACTION COMPLAINT
                                         -8-
          Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 9 of 22



 1        25.   On March 21, 2019 at 10:13 AM, Plaintiff received 2 more
 2 unsolicited, autodialed text message to his cell phone from Defendant, this time

 3 using phone number 800-336-7196:

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25        26.   At 10:30 AM on March 21, 2019, Defendant sent the exact same 2
26 autodialed text messages to Plaintiff that it had sent at 10:13 AM on the same day.

27

28
                               CLASS ACTION COMPLAINT
                                         -9-
              Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 10 of 22



 1            27.    On April 19, 2019 at 10:04 AM, Plaintiff received 2 more unsolicited,
 2 autodialed text message to his cell phone from Defendant using phone number

 3 800-336-7196:

 4

 5

 6

 7

 8

 9

10            28.    Many of the autodialed text messages that Plaintiff received mention
                                                                    4
11 the phone number 949-357-0662. This number belongs to Defendant:

12            29.    Plaintiff has never consented to Jolly Farms sending him automated

13 text messages to his cell phone.

14            30.    The unauthorized text messages that were sent by Jolly Farms, as

15 alleged herein, harmed Plaintiff in the form of annoyance, nuisance, and invasion

16 of privacy, and disturbed Trujillo’s use and enjoyment of his cellular phone, in

17 addition to the wear and tear on the phone’s hardware (including the phone’s

18 battery) and the consumption of memory on the phone.

19            31.    Seeking redress for these injuries, Trujillo, on behalf of himself and a

20 Class of similarly situated individuals, brings suit under the Telephone Consumer

21 Protection Act, 47 U.S.C. § 227, et seq., which prohibits unsolicited autodialed text

22 messages to cellular telephones, as well as unsolicited text messages to phone

23 numbers registered on the DNC.

24

25

26

27   4
         https://web.archive.org/web/20190203021017/http://jollyfarmsdelivery.com/
28
                                      CLASS ACTION COMPLAINT
                                                -10-
          Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 11 of 22



 1                               CLASS ALLEGATIONS
 2              Class Treatment Is Appropriate for Plaintiff’s TCPA Claim
 3        32.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure
 4 23(b)(2) and Rule 23(b)(3) on behalf of himself and all others similarly situated

 5 and seeks certification of the following Classes:

 6        Autodialed No Consent Class: All persons in the United States who
 7        from four years prior to the filing of this action (1) Defendant (or an
 8        affiliate acting on behalf of Defendant) placed a text message call, (2)
 9        to the person’s cellular telephone number, (3) using the same equipment
10        used to text Plaintiff, and (4) for whom Defendant claims (a) they
11        obtained prior express written consent in the same manner as Defendant
12        claims they supposedly obtained prior express written consent to text
13        Plaintiff, or (b) they did not obtain prior express written consent.
14

15        Autodialed Stop Class: All persons in the United States who from four
16        years prior to the filing of this action through the present: (1) Defendant
17        (or an agency acting on behalf of Defendant) placed a text message call,
18        (2) to the person’s cellular telephone, (3) using the same equipment
19        used to text Plaintiff, (4) after the person informed Defendant that s/he
20        no longer wished to receive text messages from Defendant.
21

22        Do Not Call Registry Class: All persons in the United States who
23        from four years prior to the filing of this action (1) Defendant (or an
24        affiliate acting on behalf of Defendant) placed a text message call
25        more than one time on his/her residential telephone number, (2)
26        within any 12-month period, (3) where the telephone number had
27        been listed on the National Do Not Call Registry for at least thirty
28
                                 CLASS ACTION COMPLAINT
                                           -11-
          Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 12 of 22



 1        days, (4) for the purpose of selling Defendant’s products and services,
 2        and (5) for whom Defendant claims (a) they obtained prior express
 3        written consent in the same manner as Defendant claims they
 4        supposedly obtained prior express written consent to text Plaintiff, or
 5        (b) they did not obtain prior express written consent.
 6

 7        Stop Text Do Not Call Class: All individuals in the United States (1)
 8        who had his or her telephone number(s) registered with the National
 9        Do Not Call Registry for at least thirty days; (2) who received more
10        than one text message sent by or on behalf of Defendant within a 12-
11        month period; and (3) who requested that Defendant not text them
12        again (4) and received at least two additional text messages from
13        Defendant more than thirty (30) days after requesting for the text
14        messages to stop.
15

16        Internal Do Not Call Class: All persons in the United States who from
17        four years prior to the filing of this action (1) Defendant (or an affiliate
18        acting on behalf of Defendant) placed a text message call more than one
19        time on his/her residential telephone number, (2) within any 12-month
20        period, (3) for the purpose of selling Defendant’s products and services.
21

22        33.    The following individuals are excluded from the Classes: (1) any
23 Judge or Magistrate presiding over this action and members of their families; (2)

24 Defendant, its subsidiaries, parents, successors, predecessors, and any entity in

25 which Defendant or its parents have a controlling interest and their current or

26 former employees, officers and directors; (3) Plaintiff’s attorneys; (4) persons who

27 properly execute and file a timely request for exclusion from the Classes; (5) the

28
                                CLASS ACTION COMPLAINT
                                          -12-
          Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 13 of 22



 1 legal representatives, successors or assigns of any such excluded persons; and (6)

 2 persons whose claims against Defendant have been fully and finally adjudicated

 3 and/or released. Plaintiff anticipates the need to amend the Class definition

 4 following appropriate discovery.

 5        34.    Numerosity: On information and belief, there are hundreds, if not
 6 thousands of members of the Classes such that joinder of all members is

 7 impracticable.

 8        35.    Commonality and Predominance: There are many questions of law
 9 and fact common to the claims of Plaintiff and the Classes, and those questions

10 predominate over any questions that may affect individual members of the Classes.

11 Common questions for the Classes include, but are not necessarily limited to the

12 following:

13               (a) whether Defendant used an automatic telephone dialing system to
14                  send text messages to Plaintiff and the members of the Classes;
15               (b) whether Plaintiff and members of the Classes consented to
16                  receiving text messages from Defendant sent using an automatic
17                  telephone dialing system;
18               (c) whether Defendant sent more than one text message to Plaintiff
19                  and members of the Class who registered their phone numbers on
20                  the DNC;
21               (d) whether Defendant continued to sent text messages to Plaintiff and
22                  member of the Class despite being told not to;
23               (e) whether Defendant’s conduct constitutes a violation of the TCPA;
24                  and
25               (f) whether members of the Class are entitled to treble damages based
26                  on the willfulness of Defendant’s conduct.
27

28
                                CLASS ACTION COMPLAINT
                                          -13-
          Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 14 of 22



 1        36.    Adequate Representation: Plaintiff will fairly and adequately
 2 represent and protect the interests of the Classes, and has retained counsel

 3 competent and experienced in class actions. Plaintiff has no interests antagonistic

 4 to those of the Classes, and Defendant has no defenses unique to Plaintiff. Plaintiff

 5 and his counsel are committed to vigorously prosecuting this action on behalf of

 6 the members of the Classes, and have the financial resources to do so. Neither

 7 Plaintiff nor his counsel has any interest adverse to the Classes.

 8        37.    Appropriateness: This class action is also appropriate for
 9 certification because Defendant has acted or refused to act on grounds generally

10 applicable to the Classes and as a whole, thereby requiring the Court’s imposition

11 of uniform relief to ensure compatible standards of conduct toward the members of

12 the Classes and making final class-wide injunctive relief appropriate. Defendant’s

13 business practices apply to and affect the members of the Classes uniformly, and

14 Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect

15 to the Classes, not on facts or law applicable only to Plaintiff. Additionally, the

16 damages suffered by individual members of the Classes will likely be small

17 relative to the burden and expense of individual prosecution of the complex

18 litigation necessitated by Defendant’s actions. Thus, it would be virtually

19 impossible for the members of the Classes to obtain effective relief from

20 Defendant’s misconduct on an individual basis. A class action provides the

21 benefits of single adjudication, economies of scale, and comprehensive supervision

22 by a single court.

23 ///

24 ///

25 ///

26 ///

27 ///

28
                                CLASS ACTION COMPLAINT
                                          -14-
          Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 15 of 22



 1                               FIRST CAUSE OF ACTION
 2                        Telephone Consumer Protection Act
 3                            (Violations of 47 U.S.C. § 227)
 4           (On Behalf of Plaintiff and the Autodialed No Consent Class)
 5        38.    Plaintiff repeats and realleges paragraphs 1 through 37 of this
 6 Complaint and incorporates them by reference.

 7        39.    Defendant and/or its agents sent unwanted solicitation text messages
 8 to cellular telephone numbers belonging to Plaintiff and the other members of the

 9 Autodialed No Consent Class using an autodialer.

10        40.    These solicitation text messages were sent en masse without the
11 consent of the Plaintiff and the other members of the Class to receive such

12 solicitation text messages.

13        41.    Defendant’s conduct was negligent, wilful, or knowing.
14        42.    Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a
15 result of Defendant’s conduct, Plaintiff and the other members of the Autodialed

16 No Consent Class are each entitled to between $500 and $1,500 for each and every

17 text message.

18                                SECOND CAUSE OF ACTION
19                           Telephone Consumer Protection Act
20                                 (Violation of 47 U.S.C. § 227)
21                  (On Behalf of Plaintiff and the Autodialed Stop Class)
22        43.    Plaintiff repeats and realleges paragraphs 1 through 37 of this
23 Complaint and incorporates them by reference.

24        44.    Defendant and/or its agents sent unwanted solicitation text messages
25 to cellular telephone numbers belonging to Plaintiff and the other members of the

26 Autodialed Stop Call Class after being told to stop texting.

27        45.    These solicitation text messages were sent en masse.
28
                                 CLASS ACTION COMPLAINT
                                           -15-
            Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 16 of 22



 1           46.     Defendant has, therefore, violated 47 U.S.C. §§ 227(b)(1)(A)(iii),
 2 (c)(5). As a result of Defendant’s conduct, Plaintiff and the other members of the

 3 Autodialed Stop Class are each entitled to a minimum of $500 in damages, and up

 4 to $1,500 in damages, for each violation.

 5                                    THIRD CAUSE OF ACTION
 6                                Telephone Consumer Protection Act
 7                                     (Violation of 47 U.S.C. § 227)
 8                 (On Behalf of Plaintiff and the Do Not Call Registry Class)
 9           47.     Plaintiff repeats and realleges paragraphs 1 through 37 of this
10 Complaint and incorporates them by reference herein.

11           48.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c),
12 provides that “[n]o person or entity shall initiate any telephone solicitation” to “[a]

13 residential telephone subscriber who has registered his or her telephone number on

14 the national do-not-call registry of persons who do not wish to receive telephone

15 solicitations that is maintained by the federal government.”

16           49.     47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are
17 applicable to any person or entity making telephone solicitations or telemarketing

18 calls to wireless telephone numbers.”5

19           50.     47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity
20 shall initiate any call for telemarketing purposes to a residential telephone

21 subscriber unless such person or entity has instituted procedures for maintaining a

22 list of persons who request not to receive telemarketing calls made by or on behalf

23 of that person or entity.”

24

25

26   5
      Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No. 02-278,
     Report and Order, 18 FCC Rcd 14014 (2003) Available at https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-
27   153A1.pdf

28
                                         CLASS ACTION COMPLAINT
                                                   -16-
          Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 17 of 22



 1        51.    Any “person who has received more than one telephone call within
 2 any 12-month period by or on behalf of the same entity in violation of the

 3 regulations prescribed under this subsection may” may bring a private action based

 4 on a violation of said regulations, which were promulgated to protect telephone

 5 subscribers’ privacy rights to avoid receiving telephone solicitations to which they

 6 object. 47 U.S.C. § 227(c).

 7        52.    Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to
 8 be initiated, telephone solicitations to telephone subscribers such as Plaintiff and

 9 the Do Not Call Registry Class members who registered their respective telephone

10 numbers on the National Do Not Call Registry, a listing of persons who do not

11 wish to receive telephone solicitations that is maintained by the federal

12 government.

13        53.    Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do
14 Not Call Registry Class received more than one text message in a 12-month period

15 by or on behalf of Defendant in violation of 47 C.F.R. § 64.1200, as described

16 above. As a result of Defendant’s conduct as alleged herein, Plaintiff and the Do

17 Not Call Registry Class suffered actual damages and, under section 47 U.S.C. §

18 227(c), are entitled, inter alia, to receive up to $500 in damages for such violations

19 of 47 C.F.R. § 64.1200.

20        54.    To the extent Defendant’s misconduct is determined to be willful and
21 knowing, the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of

22 statutory damages recoverable by the members of the Do Not Call Registry Class.

23 ///

24 ///

25 ///

26 ///

27 ///

28
                                 CLASS ACTION COMPLAINT
                                           -17-
          Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 18 of 22



 1                           FOURTH CAUSE OF ACTION
 2                              Violation of 47 U.S.C. § 227
 3              (On behalf of Plaintiff and the Stop Text Do Not Call Class)
 4        55.     Plaintiff incorporates and re-alleges by reference paragraphs 37 as if
 5 fully set forth herein.

 6        56.     Defendant violated 47 C.F.R. §64.1200 by initiating calls/texts for
 7 telemarketing purposes to telephone subscribers such as Plaintiff and the Stop Text

 8 Do Not Call Class who were registered on the National Do Not Call Registry and

 9 who specifically told Defendant to stop calling or texting them, and who received

10 two more calls or text messages within a 12-month period from Defendant at least

11 thirty (30) days after informing Defendant to stop calling them. Defendant made

12 these calls without instituting procedures that comply with the minimum regulatory

13 standards for maintaining a list of persons who request not to receive telemarketing

14 calls from them or training its personnel in the existence and use of any such list.

15        57.     As a result of Defendant’s unlawful conduct, Plaintiff and the Stop
16 Text Do Not Call Class suffered actual damages and, under section 47 U.S.C. §

17 227(c), Plaintiff and each member of the Stop Text Do Not Call Class is each

18 entitled to receive up to $500 in damages for each violation of 47 C.F.R. §

19 64.1200.

20        58.     Should the Court determine that Defendant’s conduct was willful and
21 knowing, the Court may, pursuant to Section 227(b)(3), treble the amount of

22 statutory damages recoverable by Plaintiff and the other members of the Stop Text

23 Do Not Call Class.

24 ///

25 ///

26 ///

27 ///

28
                                 CLASS ACTION COMPLAINT
                                           -18-
          Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 19 of 22



 1                            FIFTH CAUSE OF ACTION
 2                             Violation of 47 U.S.C. § 227
 3              (On behalf of Plaintiff and the Internal Do Not Call Class)
 4        59.    Plaintiff repeats and realleges paragraphs 1 through 37 of this
 5 Complaint and incorporates them by reference.

 6        60.    Under 47 C.F.R. § 64.1200(d), “[n]o person or entity shall initiate any
 7 call for telemarketing purposes to a residential telephone subscriber unless such

 8 person or entity has instituted procedures for maintaining a list of persons who

 9 request not to receive telemarketing calls made by or on behalf of that person or

10 entity. The procedures instituted must meet the following minimum standards:

11        (1) Written policy. Persons or entities making calls for telemarketing
12        purposes must have a written policy, available upon demand, for
13        maintaining a do-not-call list.
14        (2) Training of personnel engaged in telemarketing. Personnel
15        engaged in any aspect of telemarketing must be informed and trained
16        in the existence and use of the do-not-call list.
17        (3) Recording, disclosure of do-not-call requests. If a person or entity
18        making a call for telemarketing purposes (or on whose behalf such a
19        call is made) receives a request from a residential telephone subscriber
20        not to receive calls from that person or entity, the person or entity
21        must record the request and place the subscriber's name, if provided,
22        and telephone number on the do-not-call list at the time the request is
23        made. Persons or entities making calls for telemarketing purposes (or
24        on whose behalf such calls are made) must honor a residential
25        subscriber's do-not-call request within a reasonable time from the date
26        such request is made. This period may not exceed thirty days from the
27        date of such request. If such requests are recorded or maintained by a
28
                                CLASS ACTION COMPLAINT
                                          -19-
     Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 20 of 22



 1   party other than the person or entity on whose behalf the
 2   telemarketing call is made, the person or entity on whose behalf the
 3   telemarketing call is made will be liable for any failures to honor the
 4   do-not-call request. A person or entity making a call for telemarketing
 5   purposes must obtain a consumer's prior express permission to share
 6   or forward the consumer's request not to be called to a party other than
 7   the person or entity on whose behalf a telemarketing call is made or
 8   an affiliated entity.
 9   (4) Identification of sellers and telemarketers. A person or entity
10   making a call for telemarketing purposes must provide the called party
11   with the name of the individual caller, the name of the person or entity
12   on whose behalf the call is being made, and a telephone number or
13   address at which the person or entity may be contacted. The telephone
14   number provided may not be a 900 number or any other number for
15   which charges exceed local or long distance transmission charges.
16   (5) Affiliated persons or entities. In the absence of a specific request
17   by the subscriber to the contrary, a residential subscriber's do-not-call
18   request shall apply to the particular business entity making the call (or
19   on whose behalf a call is made), and will not apply to affiliated
20   entities unless the consumer reasonably would expect them to be
21   included given the identification of the caller and the product being
22   advertised.
23   (6) Maintenance of do-not-call lists. A person or entity making calls
24   for telemarketing purposes must maintain a record of a consumer's
25   request not to receive further telemarketing calls. A do-not-call
26   request must be honored for 5 years from the time the request is made.
27

28
                             CLASS ACTION COMPLAINT
                                       -20-
           Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 21 of 22



 1          61.   Defendant sent marketing text messages to Plaintiff and members of
 2 the Internal DNC Class without implementing internal procedures for maintaining

 3 a list of persons who request not to be called by the entity and/or by implementing

 4 procedures that do not meet the minimum requirements to allow Defendants to

 5 initiate telemarketing calls. 47 C.F.R. 64.1200(d)(1)-(6).

 6          62.   The TCPA provides that any “person who has received more than one
 7 telephone call within any 12-month period by or on behalf of the same entity in

 8 violation of the regulations prescribed under this subsection may” bring a private

 9 action based on a violation of said regulations, which were promulgated to protect

10 telephone subscribers’ privacy rights to avoid receiving telephone solicitations to

11 which they object. 47 U.S.C. § 227(c)(5).

12          63.   Defendant has, therefore, violated 47 U.S.C. § 227(c)(5). As a result
13 of Defendant’s conduct, Plaintiff and the other members of the Internal Do Not

14 Call Class are each entitled to up to $1,500 per violation.

15                                 PRAYER FOR RELIEF
16          WHEREFORE, Plaintiff Trujillo, individually and on behalf of the Class,
17 prays for the following relief:

18       a) An order certifying the Class as defined above, and appointing Plaintiff as
19          the representative of the Class and his attorneys as Class Counsel;
20       b) An award of actual and/or statutory damages and costs;
21       c) An order declaring that Defendant’s actions, as set out above, violate the
22          TCPA;
23       d) An injunction requiring Defendant to cease all unsolicited texting activity,
24          and to otherwise protect the interests of the Class; and
25       e) Such further and other relief as the Court deems just and proper.
26 ///

27 ///

28
                                 CLASS ACTION COMPLAINT
                                           -21-
          Case 2:20-cv-00275-TLN-AC Document 1 Filed 02/05/20 Page 22 of 22



 1

 2

 3                                     JURY TRIAL DEMAND
 4         Plaintiff Trujillo requests a jury trial.
 5                                            Respectfully Submitted,
 6
                                              MICHAEL TRUJILLO, individually and
                                              on behalf of those similarly situated
 7                                            individuals
 8
     Dated: February 5, 2020                   /s/ Amanda Benedict
 9                                            Amanda Benedict
10                                            Law Office of Amanda Benedict
                                              7710 Hazard Center Drive, Ste E104
11                                            San Diego, CA 92108
12                                            Telephone: (760) 822-1911
                                              amanda@amandabenedict.com
13

14                                            Steven L. Woodrow*
                                              swoodrow@woodrowpeluso.com
15                                            Patrick H. Peluso*
16                                            ppeluso@woodrowpeluso.com
                                              3900 E Mexico Ave., Suite 300
17                                            Denver, CO 80210
18                                            Tel: 720-213-0675

19                                            Attorneys for Plaintiff and the alleged
20                                            Classes

21                                            *Pro Hac Vice motion forthcoming

22

23

24

25

26

27

28
                                  CLASS ACTION COMPLAINT
                                            -22-
